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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO
                            Judge Christine M. Arguello

Criminal Case No. 04-cr-00158-CMA

UNITED STATES OF AMERICA,

       Plaintiff,

v.

MICHAEL KEVIN HARRIS,

       Defendant.


                                         ORDER


       This matter is before the Court on Defendant Michael Harris’s letter of January 1,

2022 (Doc. # 128), in which he asks the Court to order that he be released to a halfway

house. The Court construes Harris’s letter to be a motion for sentence modification. The

motion is denied for the following reasons.

       Under 18 U.S.C. § 3582(c)(1)(A), “[t]he court may not modify a term of

imprisonment once it has been imposed except . . . upon motion of the Director of the

Bureau of Prisons, or upon motion of the defendant after the defendant has fully

exhausted all administrative rights to appeal a failure of the Bureau of Prisons to bring a

motion on the defendant's behalf or the lapse of 30 days from the receipt of such a

request by the warden of the defendant's facility, whichever is earlier.” 18 U.S.C.S. §

3582(c)(1)(A); United States v. Jenkins , 460 F. Supp. 3d 1121, 1126 (D. Colo. 2020).

Harris’s motion for sentence modification fails to establish that he has exhausted his

administrative rights. Therefore, this Court has no authority to grant his request for


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sentence reduction, and the motion must fail as a matter of law.

      For the foregoing reasons, Defendant Michael Harris’s motion for sentence

modification (Doc. # 128) is DENIED.

      DATED: January 21, 2022


                                         BY THE COURT:


                                         _________________________________
                                         CHRISTINE M. ARGUELLO
                                         United States District Judge




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